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UNITED STATES DISTRICT COURT                                  ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                 DOC #: __________________
--------------------------------------------------------X     DATE FILED: __1/11/21________
UNITED STATES OF AMERICA


                 v.                                                 11-CR-991-KMW
                                                                       ORDER
MICHAEL MOYNIHAN

                                   Defendant.
--------------------------------------------------------X

KIMBA M. WOOD, United States District Judge:

        On January 8, 2021, Defendant Michael Moynihan moved to reduce his sentence

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i).          (ECF No. 189.)

        No later than January 25, 2021, the Government shall respond to Defendant’s motion.

With its response, the Government shall provide the following information, after conferring with

the Bureau of Prisons (“BOP”) and the United States Probation Office as appropriate:

        1. Whether the Government opposes Defendant’s motion;

        2. The BOP’s assessment of the factors listed in the Attorney General’s Memorandum

             for Director of Bureau Prisons dated March 26, 2020 as they pertain to Defendant;

             what risk factors for severe COVID-19 illness, if any, Defendant presents; who, if

             anyone, at the BOP assessed Defendant’s risk factors for severe COVID-19 illness;

             and upon what specific information that person’s assessment was made;

        3. The criteria used by the BOP to decide whom to test for COVID-19 at FCI Butner

             Medium, where Defendant resides;

        4. Approximately how many tests for COVID-19 have been conducted at FCI Butner

             Medium;

        5. The number of inmates and staff who have tested positive and the number of inmates
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         and staff who have tested negative for COVID-19 at FCI Butner Medium, both as

         absolute numbers and as a percentage of the total population of inmates and staff at

         FCI Butner Medium;

      6. The number of inmates and staff currently infected with COVID-19 at FCI Butner

         Medium;

      7. Whether Defendant has been in close proximity to any inmate or staff member who

         has tested positive for COVID-19;

      8. The Government’s assessment of the factors set forth in 18 U.S.C. § 3553(a) as they

         pertain to Defendant;

      9. Defendant’s disciplinary record in prison, risk of recidivism, risk of violence, and any

         changes to the conditions of supervised release that should be made in the event

         Defendant is released;

      10. Upon what specific facts and information the BOP relied in denying Defendant’s

         request for a reduction in sentence;

      11. Whether the BOP has considered or intends to consider Defendant for home

         confinement or furlough; by what date the BOP expects to make a determination

         regarding home confinement or furlough; and upon what specific information the

         BOP’s determination will rely.



      SO ORDERED.

Dated: New York, New York
       January 11, 2021
                                                            /s/ Kimba M. Wood
                                                             KIMBA M. WOOD
                                                          United States District Judge




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